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NEWS
                                                                                     1h ago
After three 3 months, chief of civil rights division at
the Bexar County DA's O ce resigns
By Gabriella Ybarra , Sta   writer
Nov 4, 2024
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Prosecutor Charles "Jeff" Mulliner testifies during a hearing to recuse Judge Stephanie Boyd from
presiding over the trial for the three former San Antonio police officers charged in the death of Melissa
Perez on Sept. 26. Mulliner recently announced his resignation. His last day will be Nov. 14.
Josie Norris/San Antonio Express-News



After three months on the job, the head of the civil rights division at the Bexar
County District Attorneys office has resigned.


Jeff Mulliner announced his resignation last week, Bexar County District Attorney Joe
Gonzales said.


Mulliner, who was hired last year, was appointed chief of the Bexar County Civil
Rights Division on July 31.

His last day will be Nov. 14.


No reason for the resignation has been shared.


"Out of respect for the privacy of Mr. Mulliner and his family, we cannot comment
further than to say we appreciate the outstanding work he provided as a member of
the Bexar County District Attorney’s Of ce," Gonzales told the Express-News.


In a statement, Gonzales said the of ce would be looking for a replacement
immediately to avoid delays in pending cases.


The division, which was approved for funding by the Bexar County
Commissioner's court in 2020, handles cases related to of cer-involved shootings,
custodial deaths and allegations of excessive use of force by law enforcement.
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